Case 2:25-cv-00337-JLB-NPM                Document 19             Filed 06/17/25    Page 1 of 13 PageID 250




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

     -----------------------------------------------------
     RICHARD LUTHMANN,                                              Case No. 2:25-cv-337-JLB

                                         Plaintiff,                 PLAINTIFF’S OPPOSITION TO
              v.                                                    DEFENDANT’S SECOND
                                                                    MOTION FOR EXTENSION
     DANESH NOSHIRVAN aka DANESH                                    OF TIME TO RESPOND TO
     JON NOSHRIVAN aka THAT DANESH                                  COMPLAINT
     GUY aka SCOTUS DOXXER DANESH
     NOSHIRVAN aka CANCEL CULTURE
     KILLER DANESH NOSHIRVAN aka
     #CHEESEDANESH, aka ERICA
     SABONIS,

                                         Defendant.
     -----------------------------------------------------

                       PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                       SECOND MOTION FOR EXTENSION OF TIME TO
                       RESPOND TO COMPLAINT

              Plaintiff, Richard Luthmann, respectfully submits this Opposition to Defendant

     Danesh Noshirvan’s Second Motion for Extension of Time (ECF No. 8). Defendant's

     motion fails both procedurally and substantively under the governing law of the Eleventh

     Circuit and should be denied in its entirety.

         I.        PLAINTIFF HAS                 NOT             CONSENTED         TO   MAGISTRATE
                   JURISDICTION

              At the outset, Plaintiff reiterates his formal non-consent to the jurisdiction of any

     magistrate judge for final determination of dispositive matters. Under 28 U.S.C.

     ௗ3(c)(1), consent to magistrate jurisdiction must be explicit and voluntary. Plaintiff has

     previously invoked his right to have all dispositive matters resolved by an Article III judge.




                                                             1
Case 2:25-cv-00337-JLB-NPM              Document 19          Filed 06/17/25   Page 2 of 13 PageID 251




     Therefore, to the extent this Motion seeks dispositive relief or materially alters scheduling,

     it must be decided by the District Judge.



           II.      DEFENDANT’S MISCONDUCT UNDERCUTS HIS CLAIMS OF
                    NEEDING MORE TIME

                 Mr. Noshirvan claims he cannot retain counsel “due to reputational risks” and the

     “complexity” of this case. But it is his own misconduct—including doxxing U.S. Supreme

     Court Justices, targeting private citizens, and inciting harassment campaigns—that makes

     him unrepresentable at the rates he is “willing to pay.”

                 As outlined in the Verified Complaint (ECF No. 1), Noshirvan is credibly accused

     of:

           x     Disseminating the home addresses of U.S. Supreme Court Justices after Dobbs was

                 decided, inciting dangerous protests.

           x     Harassing Duane Morris LLP partner Julian Jackson Fannin, leading to alleged

                 death threats.

           x     Engaging in coordinated defamation and AI-driven harassment, including conduct

                 that contributed to the suicide of Aaron De La Torre.

           x     Attacking over 600 identified individuals in “cancel culture” campaigns for profit

                 and political gain.

                 This Court should not reward a party who cannot obtain representation because of

     his own abusive, unethical, and violent online conduct. Noshirvan’s difficulty in retaining

     counsel is self-inflicted. It is not “good cause.”




                                                         2
Case 2:25-cv-00337-JLB-NPM            Document 19        Filed 06/17/25      Page 3 of 13 PageID 252




        III.      THIS CASE INVOLVES SEPARATE, INDEPENDENT TORTS—NO
                  EXTENSION IS JUSTIFIED

               Noshirvan misleadingly argues that this case is “closely tied to an ongoing related

     federal case.” It is not. This action arises out of intentional torts—libel per se, prima facie

     tort, and Anti-SLAPP violations—that are wholly independent from Noshirvan v. Couture

     et al., Case No. 2:23-cv-01218 (M.D. Fla.).

               There is no overlap in parties, no identity of causes of action, and no legal

     interdependence. The Eleventh Circuit holds that “parallel proceedings” do not excuse a

     party from its separate obligations in a case. See Colorado River Water Conservation Dist.

     v. United States, 424 U.S. 800, 817 (1976); Ambrosia Coal & Constr. Co. v. Pages

     Morales, 368 F.3d 1320, 1329 (11th Cir. 2004) (parallel cases must be “substantially the

     same” and “duplicative,” which this case is not).



        IV.       DEFENDANT FAILED TO CONFER UNDER LOCAL RULE 3.01(g)—
                  AGAIN

               This is Defendant’s second motion that violates Local Rule 3.01(g). He failed to

     meaningfully confer and instead declared unilaterally that “conferral is inappropriate.”

     Courts in this District routinely deny motions on this ground alone. See Swaney v. Regions

     Bank, No. 2:13-cv-534-FtM-38CM, 2014 WL 3012693 (M.D. Fla.); Desai v. Tire

     Kingdom, Inc., No. 8:14-cv-3062-T-36AEP (M.D. Fla. Jan. 7, 2025).



        V.        DEFENDANT WAS ALREADY GIVEN A FULL                                      30-DAY
                  EXTENSION—WITH CONDITIONS HE IGNORED

               Plaintiff offered Defendant a full 30-day extension via written stipulation (Ex. A)

     on May 16, 2025. The offer required that Defendant answer the Complaint and waive Rule

                                                    3
Case 2:25-cv-00337-JLB-NPM          Document 19        Filed 06/17/25     Page 4 of 13 PageID 253




     12(b) defenses. Rather than accept, Noshirvan responded with hostility and false claims

     that Plaintiff's emails “go straight to spam.” This reflects not just bad faith but an

     intentional refusal to follow the Professionalism Expectations and Guidelines issued by the

     Florida Bar and adopted in the Court’s Civil Action Order.

              On June 17, 2025, Plaintiff again offered another 30-day extension via written

     stipulation (Ex. B) on the same terms as outlined above.

              Defendant Noshirvan has not responded.



        VI.      THE MOTION IS MADE IN BAD FAITH AND FOR DELAY

              Noshirvan’s history of litigation gamesmanship—including inflammatory public

     statements, refusal to engage professionally, and repeated violations of court orders—

     shows a pattern of obstruction. Under Rule 1 of the Federal Rules of Civil Procedure, the

     Court must secure “the just, speedy, and inexpensive determination of every action.”

     Extensions granted without merit serve only to reward Noshirvan’s misconduct.



                                         CONCLUSION

              Defendant has had ample time and notice to respond. His excuses are unsupported

     by law, belied by his own misconduct, and made in violation of the Court’s Local Rules.

     He should not be allowed to delay proceedings in a case where he faces serious allegations

     of defamation and digital abuse.

              WHEREFORE, Plaintiff respectfully requests that the Court:

        1. Deny Defendant’s Second Motion for Extension of Time;

        2. Order Defendant to file his Answer or responsive pleading within three (3) days;



                                                 4
Case 2:25-cv-00337-JLB-NPM           Document 19       Filed 06/17/25      Page 5 of 13 PageID 254




        3. Warn Defendant that further delays will result in sanctions under Fed. R. Civ. P.

            16(f) and 11; and

        4. Refer Defendant’s bad faith conduct to the appropriate judicial officers for further

            review.

        5. Grant such other and further relief as the Court shall deem proper.

     Dated: June 17, 2025                          Respectfully submitted,




                                                   __________________________
                                                   Richard Luthmann
                                                   Plaintiff, Pro Se
                                                   4199 Los Altos Court
                                                   Naples, FL 34109
                                                   (239) 631-5957
                                                   richard.luthmann@protonmail.com

                                  CERTIFICATE OF SERVICE

     I hereby certify that on this 17th day of June, 2025, I served a true and correct copy of the
     foregoing Plaintiff’s Opposition to Defendant’s Second Motion for Extension of Time to
     Respond to Complaint on Defendant Danesh Noshirvan by the following methods:

        1. Email Service pursuant to Local Rule 1.10(c) and the Civil Action Order:
           To: thatdaneshguy@gmail.com
        2. U.S. Mail, First Class, Postage Prepaid addressed to:
           Danesh Noshirvan
           2411 Charleston Road
           Mansfield, PA 16933
                                                 Respectfully submitted,




                                                   Richard Luthmann, Plaintiff Pro Se
                                                   4199 Los Altos Court
                                                   Naples, FL 34109
                                                   richard.luthmann@protonmail.com
                                                   (239) 631-5957


                                                  5
Case 2:25-cv-00337-JLB-NPM   Document 19   Filed 06/17/25   Page 6 of 13 PageID 255




               EXHIBIT A
                                                     LUTHMANN EXT 2 OPP 0001
Case 2:25-cv-00337-JLB-NPM                Document 19            Filed 06/17/25   Page 7 of 13 PageID 256




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

     -----------------------------------------------------
     RICHARD LUTHMANN,                                             Case No. 2:25-cv-337-JLB-NPM

                                         Plaintiff,                STIPULATION FOR
              v.                                                   EXTENSION OF TIME TO
                                                                   RESPOND TO COMPLAINT
     DANESH NOSHIRVAN aka DANESH
     JON NOSHRIVAN aka THAT DANESH
     GUY aka SCOTUS DOXXER DANESH
     NOSHIRVAN aka CANCEL CULTURE
     KILLER DANESH NOSHIRVAN aka
     #CHEESEDANESH, aka ERICA
     SABONIS,

                                         Defendant.
     -----------------------------------------------------

                       STIPULATION FOR EXTENSION OF TIME TO
                       RESPOND TO COMPLAINT AND WAIVER OF
                       RULE 12(b) DEFENSES


              Plaintiff Richard Luthmann and Defendant Danesh Noshirvan (collectively, the

     “Parties”), by and through the undersigned, hereby stipulate and agree as follows:

         1. Defendant shall have an extension of thirty (30) days, up to and including June 15,

              2025, to serve and file a responsive pleading to Plaintiff’s Complaint.

         2. In consideration of said extension, Defendant hereby expressly waives all defenses

              available under Federal Rule of Civil Procedure 12(b), including but not limited to

              lack of personal jurisdiction, improper venue, insufficient process, and insufficient

              service of process.

         3. Defendant shall respond to the Complaint by Answer and not by motion under Rule

              12(b).



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                                                                           LUTHMANN EXT 2 OPP 0002
Case 2:25-cv-00337-JLB-NPM          Document 19        Filed 06/17/25      Page 8 of 13 PageID 257




        4. This stipulation does not constitute an admission of liability or a waiver of any other

           defenses available to the Defendant.



     Dated: May 16, 2025




     __________________________
     Richard Luthmann
     Plaintiff, Pro Se
     4199 Los Altos Court
     Naples, FL 34109
     (239) 631-5957
     richard.luthmann@protonmail.com




     ___________________________
     Danesh Noshirvan
     Defendant, Pro Se
     2411 Charleston Rd
     Mansfield, PA 16933-8857
     (714) 293-9800
     thatdaneshguy@gmail.com




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                                                                    LUTHMANN EXT 2 OPP 0003
Case 2:25-cv-00337-JLB-NPM   Document 19   Filed 06/17/25   Page 9 of 13 PageID 258




                EXHIBIT B
                                                     LUTHMANN EXT 2 OPP 0004
       Case 2:25-cv-00337-JLB-NPM                Document 19          Filed 06/17/25       Page 10 of 13 PageID 259

Re: Service of Filed Motion – 2:25-cv-00337-JLB-NPM
From     Richard A Luthmann <richard.luthmann@protonmail.com>
To       Danesh<daneshnoshirvan@gmail.com>

Date     Tuesday, June 17th, 2025 at 4:23 PM


Mr. Noshirvan,


Please see the attached as an offer to resolve the issue of your default in the above-referenced matter.


Please note that you have not attempted a good-faith meet and confer in accordance with the Middle District of Florida's
Local Rule 3.01(g).


Please note that if I do not hear from you immediately, I will be filing opposition to your motion for an additional extension
of time made in bad faith.

Regards,

Richard Luthmann
Writer, Journalist, and Commentator
Tips or Story Ideas:
(239) 631-5957
richard.luthmann@protonmail.com
LINKTREE
Muck Rack Profile
Substack: This is For Real.
Editor-In-Chief: FLGulf.news
Editor-In-Chief: NYNewsPress.com
Editor-In-Chief: TheFamilyCourtCircus.com
Contributor: Frank Report
Contributor: Sun Bay Paper
Follow Me on Facebook X Instagram LinkedIn TRUTH Rumble

Sent with Proton Mail secure email.

On Monday, June 16th, 2025 at 4:28 PM, Danesh <daneshnoshirvan@gmail.com> wrote:
     Hi Richard,
     Attached is a copy of the motion I filed today in Case No. 2:25-cv-00337-JLB-NPM.

     Danesh




179.69 KB     1£file attached


                                                                                    LUTHMANN EXT 2 OPP 0005
   Case 2:25-cv-00337-JLB-NPM                 Document 19    Filed 06/17/25   Page 11 of 13 PageID 260
Luthmann_v_Noshirvan_Stipulation - 6-17-2025.pdf 179.69 KB




                                                                        LUTHMANN EXT 2 OPP 0006
Case 2:25-cv-00337-JLB-NPM               Document 19             Filed 06/17/25   Page 12 of 13 PageID 261




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

     -----------------------------------------------------
     RICHARD LUTHMANN,                                              Case No. 2:25-cv-337-JLB-NPM

                                         Plaintiff,                 STIPULATION FOR
              v.                                                    EXTENSION OF TIME TO
                                                                    RESPOND TO COMPLAINT
     DANESH NOSHIRVAN aka DANESH
     JON NOSHRIVAN aka THAT DANESH
     GUY aka SCOTUS DOXXER DANESH
     NOSHIRVAN aka CANCEL CULTURE
     KILLER DANESH NOSHIRVAN aka
     #CHEESEDANESH, aka ERICA
     SABONIS,

                                         Defendant.
     -----------------------------------------------------

                       STIPULATION FOR EXTENSION OF TIME TO
                       RESPOND TO COMPLAINT AND WAIVER OF
                       RULE 12(b) DEFENSES


              Plaintiff Richard Luthmann and Defendant Danesh Noshirvan (collectively, the

     “Parties”), by and through the undersigned, hereby stipulate and agree as follows:

         1. Defendant shall have an extension of thirty (30) days, up to and including July 17,

              2025, to serve and file a responsive pleading to Plaintiff’s Complaint.

         2. In consideration of said extension, Defendant hereby expressly waives all defenses

              available under Federal Rule of Civil Procedure 12(b), including but not limited to

              lack of personal jurisdiction, improper venue, insufficient process, and insufficient

              service of process.

         3. Defendant shall respond to the Complaint by Answer and not by motion under Rule

              12(b).



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                                                                            LUTHMANN EXT 2 OPP 0007
Case 2:25-cv-00337-JLB-NPM         Document 19         Filed 06/17/25     Page 13 of 13 PageID 262




        4. This stipulation does not constitute an admission of liability or a waiver of any other

            defenses available to the Defendant.



     Dated: June 17, 2025




     __________________________
     Richard Luthmann
     Plaintiff, Pro Se
     4199 Los Altos Court
     Naples, FL 34109
     (239) 631-5957
     richard.luthmann@protonmail.com




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                                                                    LUTHMANN EXT 2 OPP 0008
